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                             UNITED STATES DISTRICT COURT •
                              SOUTHERN DISTRICT OF omo
                                   WESTERN DIVISION

                                           )     CASE NO.
  UNITED STATES OF AMERICA,
                                           )                  1 i 2 5 CR~40
                       Plaintiff,          )     JUDGE      J. HOPKINS
                                           )
             v.                            )     INDICTMENT
                                           )
  ERNEST D. CHAVEZ                         )     18 u.s.c. § 371
    afk/a "Lax,"                           )
  HUGH T. CAMPBELL                         )
    a/k/a "Tim Templeton,"                 )
  CARTER G. FAWCETT                        )
                                           )
                                           )
                                           )
  BRADY O. SHELLHAMMER                     )
     a/k/a "Beglu"                         )
     a/k/a "Bbbeglu,"                      )
  JIMMYWONG                                )
     a/k/a "Yasser Lopez,"                 )
  KIMBERLY A. ANGLIN                       )
     a/k/a "Kim Anglin,"                   )
  MARK M. SAMPIERI                         )
     a/k/a "The Chef'                      )
     a/k/a "SainT,"                        )
  VICTORIAS. HASKINS                       ) .
     a/k/a "Cat Face"                      )
     a/k/a "Sparkles Fancy Pants,"         )
  VANCEH. BEADLES                          )
     a/k/a "Mr. Green,"                    )
  MARYL. LONGORIA                          )
    .a/k/a "R6"                            )
     a/k/a "R6ex," and                     )
  PATRICK C. NAYLOR                        )
     a/kla "YANTF" •                       )
     a/k/a "YANTF 2x,"                     )

                  Defendants.

  THE GRAND JURY CHARGES:
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                                   GENERAL ALLEGATIONS

 At all times material to this Indictment:

  1. Defendant ERNEST D. CHAVEZ a/k/a "Lax" was a resident of Arizona.

 2. Defendant HUGH T. CAMPBELL a/k/a "Tim Templeton" was a resident of

     Pennsylvania.

 3. Defendant CARTER G. FAWCETT a/k/a "Captain" was a resident of Colorado.

 4. Defendant                                                               was a resident of



 5. Defendant BRADY 0. SRELLH.AMlV(ER a/k/a "Beglu" a/k/a "Bbbeglu" was a resident

     of Louisiana.

 6. Defendant JIMMY WONG a/k/a "Vasser Lopez" was·a resident ofNew York.

 7. Defendant KIMBERLY A. ANGLIN a/k/a "Kim Anglin" was a resident of Connecticut.

 8. Defendant MARK M. SAMPIERI a/k/a "The -Chef'' a/k/a "SainT" was a resident of

     Connecticut.

 9. Defendant VICTORIA S. HASKINS a/k/a "Cat Face'' a/k/a "Sparkles Fancy Pants" was

     a resident of Louisiana.

  10. Defendant VANCE H. BEADLES a/k/a "Mr. Green" was a resident of Kentucky.

  11. Defendant MARYL. LONGORIA a/k/a "R6" a/k/a "R6ex" was a resident of North

     Carolina.

  12. Defendant PATRICK C. NAYLOR a/k/a "YANTF" a/k/a "YANTF 2x" was a resident of

     North Carolina.

  13. Nicholas T. Dryden a/kla "Niko Bellic" was a resident of the Southern District of Ohio.

  14. Giancarlo Morelli a/k/a"Lord Cmdr GC" was a resident ofNew Jersey.



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                                COUNTl
       (CONSPIRACY TO CREATE AND DISTRIBUTE ANIMAL CRUSH VIDEOS)
                             (18 u.s.c. § 371)

  15. Paragraphs 1 through 14 of the Indictment are incorporated herein.

  16. Beginning on an unknown date but no later than on or about December 23, 2022, and

     continuing through at least on or about April 22, 2023, in the Southern District of Ohio and

     elsewhere, the defendants,

                             ERNEST D. CHAVEZ a/k/a "Lax,"
                         HUGH T. CAMPBELL a/k/a "Tim Templeton,"
                           CARTER G. FAWCETT a/k/a "Captain,"

               BRADY O. SHELLHAMMER a/k/a "Beglu" a/k/a "Bbbeglu,"
                        JIMMY WONG a/k/a "Yasser Lopez,"
                     KIMBERLY A. ANGLIN a/k/a ''Kim Anglin,"
                 MARK M. SAMPIERI a/k/a "The Chef' a/k/a "SainT,"
           VICTORIA S. HASKINS a/k/a "Cat Face" a/k/a "Sparkles Fancy Pants,"
                       VANCE H. BEADLES a/kla "Mr. Green,"
                  MARYL. LONGORIA a/l<la "R6" a/k/a "R6ex," and
               PATRICK C. NAYLOR a/k/a "YANTF" a/k/a "YANTF 2x,"


  did unlawfully and knowingly combine, conspire, confederate, and agree with each other and

  with other persons whose identities are known and unknown to the Grand Jury, to commit the.

  following objects of ~e conspiracy:

                                      Objects of the Conspiracy

      A. Creation of Animal Crush Videos: The conspirators agreed to create animal crush

      videos, as that term is defined in Title 18, United States Code, Section 48(f)(2), intending and

      having reason to know that the animal crush videos would be distributed in, or using a means

      or facility of, interstate or foreign commerce, in violation of Title 18, United States Code,

      Sections 48(a)(2) and 48(b).



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     B. Distribution of Animal Crush Videos: the conspirators agreed to sell, market, advertise,

     exchange, and distribute, animal crush videos using a means and facility of interstate and

     foreign commerce, in violation of Title 18, Unites States Code, Sections 48(a)(3) and 48(b).

                                        Manner and Means


 17. Among the manner and means employed by ERNEST D. CHAVEZ a/k/a "Lax," HUGH T.

    CAMPBELL a/k/a "Tim Templeton," CARTER G. FAWCETT a/k/a "Captain,"-

                                                           BRADY 0. SHELLHAMMER a/k/a

    "Beglu" a/k/a "Bbbeglu," JIMMY WONG a/k/a "Yasser Lopez," KIMBERLY A. ANGLIN

    a/k/a "Kim Anglin," MARK M. SAMPIERI a/k/a "The Chef' a/k/a "SainT," VICTORIA S.

    HASKINS a/k/a "Cat Face" a/k/a "Sparkles Fancy Pants," VANCE H. BEADLES a/k/a "Mr.

    Green," MARYL. LONGORIA a/k/a "R6" a/k/a "R6ex," PATRICK C. NAYLOR a/k/a

    "YANTF" a/k/a "YANTF 2x," Nicholas T. Dryden a/k/a "Niko Bellic," Giancarlo Morelli

    a/k/a "Lord Cmdr GC., " and co-conspirators to carry out the conspiracy were:

        a. To participate in private, online chat groups on messaging platforms such as

           Telegram, the purposes of which were to view, discuss; promote, advertise, exchange,

            market, purchase, sell, distribute, solicit, and fund animal crush videos depicting the

           torture, murder, sexually sadistic mutilation, and sexual abuse of animals, specifically
                                                      ./

           baby and adult monkeys.

       b. To send communications and funds electronically to Nicholas T. Dryden a/k/a ''Niko

           Bellic" and others for the purpose of funding and causing the creation, advertisement,

           exchange, and distribution of animal crush videos. Nicholas T. Dryden a/k/a ''Niko

           Bellic" and others would send communiccttions and funds electronically to individuals




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             (known as "videographers" or "VOs") outside of the United States in exchange for

             the creation and distribution of animal crush videos.

         c. To direct and encourage the sexually sadistic mutilation, sexual abuse, bestiality,

             torture, and murder of monkeys by the videograpbers in order to create animal crush

             videos which were electronically distributed to Nicholas T. Dryden, a/k!a "Niko

             Bellic" in the United States and others.

         d. To use phone-based and/or online messaging programs and other electronic means to

            distribute and cause the distribution of the animal crush videos to and among the
                     1
            members of the conspiracy.

                                             Overt Acts


        In furtherance of the conspiracy, and to;effect and accomplish its objectives, ERl'\ffiST D.

 CHAVEZ a/k/a ''Lax," IIDGH T. CAMPBELL a/k/a "Tim Templeton," CARTER G.

 FAWCETT a/k/a "Captain,"                                                             BRADY 0.

 SHELLHAMMER a/k/a "Beglu" a/k/a "Bbbeglu," JIMMY WONG a/k/a "Yasse:r Lopez,"

 KIMBERLY A. ANGLIN a/k/a "Kim Anglin," MARK M. .SAMPIERI a/k/a "The Chef' a/k/a

 "SainT," VICTORJA S. HASKJNS a/k/a "Cat Face" a/k/a "Sparkles Fancy Pants," VANCE H.

 BEADLES a/k/a "Mr. Green," MARYL. LONGORIA a/k/a "R6" a/k/a "R6ex," PATRICK C.

 NAYLOR a/k/a "YANTF" a/k/a "YANTF 2x," Giancarlo Morelli a/kla "Lord Cmdr GC,"

 Nicholas T. Dryden, a/k/a "Niko Bellic," and other co-conspirators committed one or more of

 the following overt acts in the Southern District of Ohio and elsewhere:
                                                          '

 Overt Act 1. Between on or about December 23, 2022, and March 26, 2023, ERNEST D.

    CHAVEZ a/k/a "Lax,"                                                               VICTORIA

   . S. HASKINS a/k/a "Cat Face" a/k/a "Sparkles Fancy Pants," VANCE H. BEADLES a/k/a

                                                  5
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     "Mr. Green," and other co-conspirators (CCs) exchanged the following messages in the

     Telegram group Dungeons and Monkeys that also included HUGH T. CAMPBELL afk!a

     "Tim Templeton," CARTER G. FAWCETT a/kJa "Captain," JIMMY WONG a/k/a "Yasser

     Lopez," Nicholas T. Dryden a/k/a "Niko Bellic," and olhers:

                               .. .If you ever have a masturbating monkey (although any monkey

               will do), can you please start off the video by letting him play with himselfjust

               enough to get himself hard, and then rip his whole dick off? I don't mean just cut

               it off. I mean if you can just put on some latex gloves and literally pull it right off

               his body while he screams bloody murder. I want to do that to one of them so bad

                              Then he'll be sexually :frustrated the whole time he's being tortured

               apd die 'vvithout cumrning lel



               CHAVEZ: Should 've just pulled that dick and balls all the way off lol



               CHAVEZ: He screamed pretty loud when he tugged on it. Who knows what

               would've tagged along when it came flying out



                              I had this idea to cut open the monyet's ballbag then grab his balls

               and pull them right out



               LAX: See that's what I imagine in that video after he pulls the foreskin off of it

               and gives it the plier circumcision




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                CCI: It would be great to cut off the rats [note: "rat" is slang for monkey] dick
                                                              '
               and put it in his ass then put a bit rouge on his face then spray a bit chanel no 5 on

               him and call him your bitch and slap him until he gets a black eye

               CC2: The monkeys ballsack should also be removed in pulled strips like the

               living skin next to your nails

                               Whatever he does to the individual monkeys. I love seeing duos

               and trios. Monyets pathetically clinging to e~ch other while they get rekt



               BEADLES: pav pav [note.: "pav pav" is the name of a monkey] must be fed his

               severed schlong



               CC3: Guys please I need your help. I mistakenly deleted the video of the hot nail

               in a rat's ass. Do they have it here? That video is when the rat is on a table near a

               small burner on where the VO is heating the nail. And the video ends with the VO

               slamming the rat against a wall! please someone help me



               HASKINS: PavPavs Pub Attentions all you wonderful patrons! tonight starting at

               7 central we will be having a contest! we are giving a prize to the person who can

               come up with the best torture method to PavPav! Bring your favorite adult

               beverage because we are also play a drinking game! it will be great fun!

 Overt Act 2. On or about March 12, 2023, Videographer 1 (VOl), a minor living in Indonesia,

    distributed an animal crush video to Nicholas T. Dryden a/k/a "Niko Bellic." The video is

    appro~atcly 22 minutes long. It depicts VOl engaging in various acts with a'baby monkey



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     to include sticking a spoon in the monkey's anus, dunking the monkey into a container of

     water with the spoon protruding from its anus, slamming it repeatedly into a cage by its tail,

     and ultimately killing the baby monkey.

  Overt Act 3. Between on or about March 17, 2023, and April 22, 2023, co-conspirators

     exchanged the following messages in the Telegram group B-A-N-A-N-A-Sthat included

     MARK M. SAMPIERI a/k/a "The Chef' a/k/a "SainT," VANCE H. BEADLES a/k/a "Mr.

     Green," MARYL. LONGORIA a/k/a "R6" a/k/a "R6ex," Giancarlo Morelli a/k/a "Lord

     Cmdr GC," Nicholas T. Dryden a/k/a "Niko Bellic," and others:

                CC4: Anyone have the video of the monkey getting the stick up it's as and out it's

                eye or the eyeball needle one

                CC5: I posted it here today!



                CC5: As I notice, a few classics are missing here Do you know that with the hot

                nail in the ass?



                CC6: Sew his asshole shut

                CC6: And give it laxatives

                CC7: I still say to fill it with expanding foam insulation.

                CC6: Oh

                CC6: That's easier

                CC6: Sounds great

                CC7: Maybe use a speculum to open its ass and then fill it with pink fiberglass

                insulation.



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                                                                                                     He
                CC5: [After posting a video] "The hot nail video. I like the ending very much.

               •slams the piece of shit against the wall until it dies and throws it back into the

                jungle like garbage"
                                                                                   to Nicholas
  Overt Act 4_. On or about March 22, 2023, VO 1 distributed an animal crush video
                                                                                        depicts VOl
     T. Dryden a/k/a "Niko Bellic." The video is approximately 16 minutes long. It
                                                                                        y away from
     engaging in various acts with a baby monke y to include prying the baby monke
                                                                                       liquid, and
     its mother, zooming in on the genitals of the baby, boiling the baby alive in a

     returning the dead baby to the mother.
                                          i
                                                                                 to Nicholas
  Overt Act 5. On or about March 24, 2023, VOl distributed an animal crush video
                                                                                        depicts VOl
     T. Dryden a/k/a ''Niko Bellic." The video is approximately 23 minutes long. It
                                                                                         the monkey.
     engaging in various acts with a baby monkey to include burning the genitals of
                                                                                 to Nicholas
  Overt Act 6. On or about March 25, 2023, VOl distributed an animal crush video
                                                                                        depicts VOl
     T. Dryden a/k/a ''Niko Bellic." The video is approximately 19 minutes long. It
                                                                                            in the
     engaging in various acts with a baby monkey to include sticking a wooden skewer
                                                                                        y to a cage.
      monke y's anus, sticking fish hooks in the monke y's head, attaching the monke
                                                                                          cutting the
      using a fishhook protruding from its head, burning the monke y's face and head,
                                                                                        the monkey by
      monke y repeatedly in the mouth, head, and body with wire cutters, picl$ing up
                                                                                           y.
      a woode n skewer protruding from its anus, and ultimately killing the baby monke
                                                                              and Nichol                as
  Overt Act 7. On or about March 26, 2023, JIM1v1Y WONG a/k/a "Yasse r Lopez"

      T. Dryden a/k/a ''Niko Bellic" exchanged the following messages on Telegram:

                 Dryden: I got this 29min video and a 19 mins kill video for 50

                 WONG: I sent you 2 donations on go fund one for 12 and another for 28



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                WONG: Will send receipts

  Overt Act 8. Between on or about April 4, 2023, and on or about April 20, 2023, _

                                                        and Nicholas T. Dryden a/k/a "Niko Bellic"

      exchanged the following messages on Telegram:

                               How much will it be?

                Dryden: I'll do 40 for you because you payed for the monkey

                               Could we possibly do 30 just this time? I'm only asking because

         I'm already in overdraft again this month and I have $32 left on my wd limit until I get

         my next cheque. I'm gonna get an application handed in somewhere tbis week though so I

         can have more disposable income .

                Dryden: That's fine brother . I'm gonna do it for free

                Dryden: Don't worry about it

                Dryden: Send email
                                 !
                               That's dope. Thanks a lot man. I really appreciate it



                                                   -
                               Also would it be possible at some point to see a video with sibling

         monkeys together or a mother and her baby? Like j ust rip the baby from her arms and

         then beat her upside the head with her own baby or something lmfao

                                I'd probably want the baby to die first, but the:t;1 completely

         disembowel it and take its brain out so that the mother knows it's dead. They possibly

         don't understand death, so it would be cool to see how she reacts to fully understanding




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          that her baby is fuckin gone, and then just keep the camera on her for a few minutes if she

          starts wailing and hooing before she dies

  Overt Act 9. Between on or about April 4, 2023, and on or about April 9, -2023, MARYL .

      LONGORIA, 'a/kJa "R6," a/kJa "R6ex" and Nicholas T. Dryden a/kJa "Niko Bellic"

      exchanged the following messages on Telegram:

                 LONGORIA: I just sent $20. Just my way of saying thank you



                 Dryden: I feel like u should tell ppl the only way they can join is to send 10

          videos from there collection within 20 minutes.

                • LONGORIA: True but I sure didn't when I started and I feel pretty real! I am only

          going to get it up to 35 max... The group that is.

                 LONGORIA: Just trying to give the new people a foot in the door

   Overt Act 10. On or about April 7, 2023, Nicholas T. Dryden a/k/a "Niko Bellic" and VOl

      exchange d the following messages on WhatsApp:

                 Dryden: Bottom line, brother. Tell me if you could make the video tonight. Get an

          ordinary baby with a long tail and if you c~, please try to make a good video tonight.


                 VOl : Oaky, I will try.


                  VOl:No w.


                  VOl : I asked the monkey seller to deliver the baby monkey now.


                  Dryden: Okay get the smallest and healthiest and when you get it, let me know.

          Please let me send a short video. Customers have been waiting for too long, we have to

          please them


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                   Dryden: Okay bro. I'm going to send you some ideas. Let's make good money

          again.


                   Dryden: So, this is the best video that you have ever made. I don't care. Go ahead

          and kill it. I'll buy another one tomorrow.


   Overt Act 11. On or about April 7, 2023, Nicholas T. Dryden afk/a "Niko Bellic" sent the

      following messages to VOI on WhatsApp:
                                                                                                      \

                   Dryden: Yes, I'm taking up your time easily, brother. Don't rush it. Don't rush it



                   Dryden: I'm .. .I'm happy, not angry with you, I have no complaints. You did an

          amazing thing, protect it.



                   Dryden: Bro, you're, you're a cool guy. Cool friend. We make more money by

          producing.

   Overt Act 12. On or about April 8, 2023, VOI distributed an animal crush video electron
                                                                                              ically

      to Nicholas T. Dryden a/k/a "Niko Bellic" in the Southern District of Ohio. The video is

       approximately 30 minutes long. It initially depicts a piece of paper with the words ''Niko

       Bellic" written across it. The video then depicts various acts of torture being performed by

      VOI upon a juvenile monkey, including burning the genitals and anus of the monkey.
                                                                                                 R G.
   Overt Act 13. Between on or about April 8, 2023, and on or about April 18, 2023, CARTE

       FAWCETT, a/k/a "Captain" and Nicholas T. Dryden a/k/a ''Niko Bellic" exchanged the

       following messages on Telegram:

                   FAWCETT: Can you send it here and I'll delete it after joining?

                   Dryden: Yea

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                 Dryden: Yea I forget which one it is I have to check

                 Dryden: That's the one where he rips it's Ann
                                                             ·,
                                                                off

                 FAWCETT: Idk if I've seen it

                 Dryden: Where he cuts it's leg off with a razor

                 Dryden: Best video he ever made

                 FAWCETT: Haven't seen it. Can you send it?



                -FAWCETT: Lemme know if you can do $70 on the 100 min of content brotha.

         Just down on cash m but will be back up soon. Bought the last 6 vids, I'll keep buying

         more too.

                 Dryden: Yea.i cak

                 Dryden: Can

                 Dryden; I can do 60

                 Dryden: You've been loyal

                 FAWCETT: Appreciate it

   Overt Act 14. Between on or about April 9, 2023, and on or about April 20, 2023, HUGH T.

      CAlvfPBELL a/kJa "Tim Templeton" and Nicholas T. Dryden a/kJa ''Niko Bellic''. exchanged

      the following messages on Telegram:

                 Dryden: Okay . Please d0 not say anything or screenshot that video at all brother.

          They are already looking into this

                 CAMPBELL: That video was awesome. Nice and gruesoz;ne.

                 CAMPBELL: I won't do anything like that. I just like to watch. I don't have any

          desire to steal content or share and risk starting any trouble



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                     Dryden: U,can not share with anyone. Things are hot right now.

                     CAMPBELL: [after receiving a preview video] Oh yeah, I fucking want these.



                     CAMPBELL: Oh shit.nyour dude is wild.

                     CAMPBELL: Love it



                     CAMPBELL: Yo! Boy or girl rat?



                     Dryden: Boy

./
                     CAMPBELL: Fuck yea

                     CAMPBELL: How do you communicate with your guy?

                     CAMPBELL: I'm messaging a YouTuber from Indonesia who hunts monkeys

       Overt Act 15. On or about April 9, 2023, Nicholas
                                                     I
                                                         T. Dryden a/k/a
                                                                    '
                                                                         "Niko Bellic" and VOl

          exchanged the following messages on WhatsApp:
                                                                                      '
                     Dtyden: Can you get a very small, long tail [note: a type of monkey] today? The

              smallest one that you could find. '

                     VOl: I'll find it for you today.

                     Dryden: And for some reason customers want you to put diapers on a monkey. I

              don't like this customer, but he pays well.




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                 Dryden: Okay don't worry about the APE today. Only get a long tailed. This

         customer is asking you to put diapers on a baby monkey and get the smallest diapers you

         can find. This customer is the best.

                 Dryden: He pays the most. So, it will be good to do what he says. He also sent me

         some ideas too. Tel_l me the approximate time when the baby monkey will arrive and

         when the video is rea~y.

  Overt Act 16. On or about April 10, 2023, Nicholas T. Dryden a/k/a "Niko Bellic" sent the

      following message to VOl on WhatsApp: "When making the video, make the other one

      watch the other monkey getting tortured."

  Overt Act 17. On or about April I 0, 2023, Nicholas T. Dryden a/k/a "Niko Bellic" and VOI

      exchanged the following messages on WhatsApp:

                 Dryden: Send me a photo of the second baby.

                 Dryden: He said he wants you to put diapers on it. I don't know why. But this is

          what he asked for

                  Dryden: He is weird.

                  Dryden: He kept asking me that.

   Overt Act 18. On or about April 11, 2023, Nicholas T. 'Dryden a/k/a "Niko Bellic" and
                                                                                                        pp:
      Giancarlo Morelli a/k/a "Lord Cmdr GC," exchanged the following messages on WhatsA

                  Morelli: .Ijust finished the first one. I gotta say, wasn't one of his best ones. He

          spent too much time with the diaper problem. He did beat the shit out of it tho. To only

          beat the shit out of them is good if they are a little older or if it's a pigtail [note: a type of

          monkey]. This way they fight back a little you know? I had an idea. You know how he's

          always getting females. You how everyone hates the damn mudflaps [note: "mudflap" is



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          a slang term for genitalia] they have? Why doesn't he cut open a mudflap in a video to

          see what's in there? Lol



                    Dryden: Yea unight. And as the top person who contributes I will make that
                               \
          happen in the next video for you and I really appreciate the advice man. I geuss tonight is

          mud.flap madness

   Overt Act 19. On or about April 12, 2023, Nicholas T. Dryden a/k/a "Niko Bellic" sent the

      following messages to VOl on WhatsApp:

                    Dryden: Be creative with the next one. Pull his tongues as far as you can with

          pliers. Put his feet in boiling water, cut off his ears and set his head on fire with a lighter



                    Dryden: Dress him in yellow clothes and be nice to it first by feeding him with the

          bottle.



                    Dryden: Go ahead and surprise me. Be creative. I want to see how creative you

          are.

   Overt Act 20. On or about April 13, 2023, VOl distributed an animal crush video electronically

      to Nicholas T. Dryden a/k/a "Niko Bellic." The video is approximately 19 minutes long. It

       initially depicts a piece of paper sitting on a wire cage with the words "Niko Bellic" and

      "[redacted] is a Snitch" written across it. The video then depicts various acts of torture being

       performed by VOl upon a baby monkey in a yellow wrapping, including burning the genitals

       and anus of the monkey.




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  Overt Act 21. On or about April 13, 2023, Nicholas T. Dryden a/kla "Niko Bellic" sent the

     following message to VOl on WhatsApp: "Okay. Thank you, bro. Tomorrow. We buy

      another 2. Let's see how these videos work."

  Overt Act 22. On or about April 13, 2023, Nicholas T. I?ryden a/kla "Niko Bellic" sent the

      following message to VOl on WhatsApp: "Okay I will send the money. In a few hours, get

      another baby monkey."

  Overt Act 23. On or about April 13, 2023, ERNEST D. CHAVEZ a/k/a "Lax," Nicholas T.

      Dryden a/kfa "Niko Bellic" exchanged the following messages:

                 Dryden: Thanks bro. Let me see that new video too if u can

                 CHAVEZ: Alright but like you ask me please don't share it



                 CHAVEZ: Yessir this is me trusting you tho



                 CHAVEZ: [after sending a video to Dryden] Wild ass nigga huh?



                 Dryden: Aye u got any more rare shit I haven't seen?



                 CHAVEZ: Have you seen the other vids?

                 Dryden: Yea thenbloodunkne

                 Dryden: The bloody one

                 Dryden: And the one wit the different type monkey

                 CHAVEZ: There's one we're he cuts the face off

                 Dryden: Yea that was sick



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                 CHAVEZ: One where he pulls the heart out



                 Dryden: [after CHAVEZ sends a video] Oh hell yeah.mynnigggaaaaaa

                 CHAVEZ : Lmao I'm so pissied

                 He didn't fuck up the one sucking it's own dick bro I hate monkeys that do that

                 shit

                 CHAVEZ: Should've cut it off and then watch it try to suck it when it's missing

   Overt Act 24. Between on or about April 14, 2023, and on or about April 18, 2023, VANCE H.

      BEADLES a/k/a "Mr. Green" and Nicholas T. Dryden a/k/a "Niko Bellic" exchanged the

      following messages on Telegram:

                 BEADLES: It's sad that as a community we'll never grow and develop with all
                                                                I

          the infighting. I don't lmow why they are giving you a hard time, right now you're all we

          got in way of new content. Idgaf what you do or how you do it, I just want to keep sauce

          [note: a slang term for monkey torture videos] flowing



                 BEADLES: Man my donors bailed, I'd like to get as much sauce as possible, I got

          $50, you have anyone to help with a donation?

                 Dryden: That will work go ahead a and send it do you have cash app

   Overt Act 25. On or about April 14, 2023, Nicholas T. Dryden a/lda "Niko Bellic" sent the

      following messages to VOl on WhatsApp:

                 Dryden: I want you to leave one of them without a leg and then let him crawl to

          the adult monkeys.




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                 Dryden: And hold the other one, be very nice to him feed him and dress him in

         yellow clothes while the other monkey crawls without a leg. After cutting off his leg,

          burn the wound with a lighter.

                 Dryden: To bum the wounds and throw salt on it. Please include older monkeys in

         this video because it seems to attract most customers. Please do this thing that I

         mentioned.

                 Dryden: And add some of your own stuff into it. Make them lengthy like the last

         time.

   Overt Act 26. Between on or about April 15, 2023, and April 22, 2023, BRADY 0.

      SHELLHAMMER a/k/a "Beglu" a/k/a "Bbbeglu," and others exchanged the following

      messages in the Telegram group Galleria Discussion that also included MARK M.
                                                                                                      f
      SAMPIERI a/k/a "The Ch~f' a/k/a "SainT," VANCE H. BEADLES a/k/a "Mr. Green," and
                    " a/k/a "R6" a/k/a "R6ex," Nicholas T. Dryden a/k/a "Niko Bellic,"
      MARYL . LONGORIA

      and others:

                    CC9: ive seen a video of a rat's dick being lit on fire and it was the absolute

                    greatest thrill to witness



                    SHELLHAMMER: i can send whatever VO wants from the USA



                    Dryden: Everyone please go to the ideas section and leave some ideas

   Overt Act 27. Between on or about April 16, 2023, and April 22, 2023, Nicholas T. Dryden

      a/k/a ''Niko Bellic," Giancarlo Morelli a/k/a "Lord Cmdr GC," MARYL . LONGORIA a/k/a

      "R6" a/k/a "R6ex," and others exchanged the following messages in the Telegram group



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     Famiglia Privata that also included ERNEST D. CHAVEZ a/k/a "Lax," HUGH T.

     CAMPBELL a/k/a ''Tim Templeton,"

     JIMMY WONG a/k/a "Yasser Lopez," KIMBERLY A. ANGLIN a/k/a "Kim Anglin,"

     VICTORIA S. HASKJNS a/k/a "Cat Face" a/k/a "Sparkles Fancy Pants," VANCE H.

     BEADLES a/k/a "Mr. Green," and PATRICK C. NAYLOR a/k/a "YANTF" a/k/a "YANTF

     2x," and others:

               Dryden: Brb ysl I'm bout to eqit this vid

               Morelli: anyone have any rarely before seen sauce to pass the time till Niko gets

               this ready




               CCl 0: @NB932 idea for video. Find male monyet with a huge mudflap and have

               the VO cut it off.

               Dryden: He did in the most recent one


               Dryden: Well halfway

               Dryden: Had to turn my head on that


               Dryden: Fuck it I'm a leak it

               CC 10: Most generous!




               Dryden: Lol u ain't lien I'm bout to share some videos


               LONGORIA: Well don't leave me out of you do ~

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                 CCl 1: Too simple and easy. Have more fun with it. Staple that mudflap to the

                 bottom lip of another one




                 CC 10:' Staple monyet mudflap to forehead of its mother




                 CC12: I want to see a stump tail get its boner razored off




                 CC12: Theres a video link on Karenmafia twitter's page that leads to 6 vid$. And

                 one of em is fish hooks its old but they pierce its sack and dick hang it by

                 fishoooks and line

  Overt Act 28. On or about April 16, 2023, Nicholas T. Dryden a/k/a "Niko Bellic" sent the

      f(?llowing messages to VOl on WhatsApp:

                 Dryden: Could make the video right now?

                 Dryden: I've sent You all the ideas and things to do

                 Dryden: And write on paper, ''Niko Loves You Guys"

                 Dryden: Let me know if you can do it now
                                                                        ,...
                 Dryden: It would be an amazing brother if you could.

   OvertAc t 29. On or about April 16, 2023, Nicholas T. Dryden a/k/a ''Niko Bellic" sent the

      following message to VO 1 on WhatsApp: "If you can make a video in the next 2 hours, I will

      give you 40 dollars extra."




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  Overt Act 30. On or about April 16, 2023, VOl distributed an animal crush video electronically

      to Nicholas T. Dryden a/k/a ''Niko Bel1ic." The video is approximately 30 minutes long. It
               I
      initially depicts a piece of paper with the words ''Niko Bellic Loves You Guys" written

      across it. The video then depicts various acts of !orture being performed by VOl upon a

      monkey, including burning the genitals and anus of the monkey.

   Overt Act 31. On or about April 17, 2023, Nicholas T. Dryden a/k/a ''Niko Bellic" sent the

      following messages to VOl on WhatsApp:

                   Dryden: Here are some other suggestions. Choke it to almost dead (pinching the

          throat), bees or ants in jars, put super glue in the hands, buttocks or mouth, stretch its

          arms and legs with a ratchet until it is broken

                   Dryden: Tie him to the cage and force him to eat shit. Then put out the cigarette.

          If you have a snake, let the snake attack him first, then in his eyes. Then force him into a

          small jar with cap and fill it with water until he almost drowns

                   Dryden: If you have a snake, let the snake attack him first and beat him up a little

          bit but don't knock him out. The tie him to the cage and put a cigarette in his eyes and

          forced him to eat

                   Dryden: Then after that force him into the small jar and cover it. Fill it with water

          until he almost drowns and then after that see if he wants to eat bananas

                   Dryden: then break every bone in his leg with pliers that you have and throw him
                     \

          back with the snake and brutally beat it to death.

   Overt Act 32. On or about April 17, 2023, Nicholas T. Dryden a/k/a ''Niko Bellic" sent the

      following message to VOl on WhatsApp: "This customer is asking you to do all the things

      that he asked for, He paid us repeatedly. I told him that you would do it for him."



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  Overt Act 33. On or about April 18, 2023, VOl distributed an animal crush video electronically

     to Dryden. The video is approximately 31 minutes long. It initially depicts a piece of paper

     with the words "Niko Bellic Telegram @NB932" written across it. The video then depicts

     various acts of torture being performed by VOl upon a monkey, including putting superglue

     into the anus of a monkey.

  Overt Act 34. On or about April 18, 2023, Nicholas T. Dryden a/k/a ''Niko Bellic" posted the

     following message to the Telegram group Famiglia Privata: "Okay I'm bout to send you

     previews of the latest video. One of the best he's ever done By far." Dryden then posted a

     screenshot from a video showing a monkey with its legs bound with tape, eyes c1osed and

     mouth open, held by the neck. A paper with the words "Niko Bellic Telegram @NB932" is

     visible underneath the monkey.

  Overt Act 35. On or about April 18, 2023, Nicholas T. Dryden a/k/a ''Niko Bellic" posted

     multiple short "tease_r" videos to the Telegr~ group Famiglia Privata. In one, a 13 second

     video, the videographer is seen holding a baby male monkey. The monkey is brought closer

     to the camera for a close-up shot of the monkey's genitals. The watermark "@NB932" is

     visible across the screen.

  Overt Act 36. On or about April 18, 2023, KIMBERLY A. ANGLIN a/k/a "Kim Anglin" and

     Nicholas T. Dryden a/k/a "Niko Bellic" exchanged the foll~rwing messages on Telegram:

                ANGLIN: Yea want that one the one sucking on his weiner

                ANGLIN: How much

  Overt Act 37. On or about April 18, 2023, PATRlCK C. NAYLOR a/k/a "YANTF" a/k/a
                                                                             ')

     "YANTF 2x," and Nicholas T. Dryden a/k/a "Niko Bellic" exchanged the following

     messages on Telegram:



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                 Dryden: I got 42 minute for you for 70

                 NAYLOR: Okay let me see what all I gotta right now . ,Hold on

                 Dryden: U can't leak this yet Please. I don't mind doing business as long as you

         wait at least 3 days or 4 before leaking that's why I ain't been hitting u up fr



                 Dryden: I'll do 60

                 NAYLOR: Yes I don't see why you listen to them lame asses bro. I've bought a

          video from you remember ? And it' s never been leaked

   Overt Act 38. On or about April 19, 2023, Nicholas T. Dryden a/Ida "Niko Bellic" and VOl

      exchanged the following messages on WhatsApp:

                 VO 1: What idea that you will give?

                 VOl: To make it now.

                 Dryden: Okay kill the smaller one first.

                 Dryden: Make Mom and Dad watch

                 Dry1en: Tie it to a cage, break all four limbs with pliers.

                 VOl: Okay.



                 Dryden: Wait a minute, I'll send some more.

                 Dryden: What sort of tools do you have?
                                        I
                 Dryden: Do you have a blender?



                 Dryden: Do this again with the little one but do this without any mercy

                 Dryden: Also, don't forget to dress it in yellow clothes



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                  Dryden: Burn his ass with matches and burn his hands and feet in boiling water

                  Dryden: Then let~ crawl around to see ifhe will go to his parents.



                  Dryden: The customer wants you to kill it by slamming his face to the ground

          with its feet at the end.

                  Dryden: One other thing. Let the teenage monkey live. But break his arm if you

          can. And you can put it back into the cage but make sure you let him watch the torture.

                  Dryden: And let them go to each other from time to time, then separate them.

   Overt Act 39. On or about April 20, 2023, VOl distributed a video electronically to Nicholas T.

   -   Dryden a/k/a ''Niko Bellic." The video is approximately 33 minutes long. The video then

       depicts various acts of torture being performed by VOl upon a monkey, including burning

       the genitals and anus of the monkey repeatedly and cutting the genitals of a male monkey

       with scissors.

   Overt Act 40. On or about April 21, 2023, BRADY 0. SHELLHAMMER a/k/a "Beglu," a/k/a

       "Bbbeglu" and Nicholas T. Dryden a/k/a ''Niko Bellic" exchanged the following messages

       on Telegram:

                   SHELLHAMMER: can i have the video of the big brother and his little bro

          watching themselves getting castrated? they were outside and there was a lot oflip

           smacking. thats the video that i sent 20$ for. it was in Planet Monpai, but for some reason

           it doesn't let me watch it.

                   SHELLHAMMER: And i want to see more of 2 brothers that aren't fetuses,

           watching themselves being disciplined. If you got one like that and there is lip smacking i

           will send more $


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  Overt Act 41. - Overt Act 79. On or about the dates listed below, defendants ER.t{EST D.

     CHAVEZ a/k/a "Lax," HUGH T. CAMPBELL a/k/a "Tim Templeton," CARTER G.

     FAWCETT a/k/a "Captain,"

     BRADY 0. SHELLHAMMER a/k/a "Beglu," a/k/a "Bbbeglu," JIMMY WONG a/k/a

     "Yasser Lopez," KIMBERLY A. ANGLIN a/k/a "Kim Anglin," MARK M. SAMPIERI

     a/k/a "The Chef' a/k/a "SainT," VICTORIA S. HASKINS a/k/a "Cat Face" a/k/a "Sparkles
                                                         C

     Fancy Pants," VANCE H. BEADLES a/k/a "11:r. Green," MARYL. LONGORIA a/k/a "R6"

     a/k/a "R6ex,,, and PATRICK C. NAYLOR a/k/a "YA.J.'-iTF" 'Qfk/a "YANTF 2x," used

     CashApp, GoFundMe, and Mighty Cause to send payment to Nicholas T. Dzyden in the

     Southern District of Ohio for the purpose of funding and causing the creation and distribution

     of monkey torture videos:


  Paid by:
  ERNEST D. CHAVEZ                 Cashtag/Display Name: ~              l Sedor Lax
  a/k/a "Lax"
                                   Date              Payment Type             Amount
  Overt Act 41                     3/15/2023         CashApp                  $45
  OvertAcl 42                      3/ 16/2023        CashApp                  $20
  OvertAct43                       3/23/2023         CashApp                  $40
  Overt Act 44                     3/25/2023         CashApp                  $40
  OvertAct45                       3/29/202~         CashApp                  $40
  OvertAct46                       4/3/2023          CashApp                  $40


  Paid by:
  HUGH T. CAMPBELL                 Cashtag/Display Name: ~                  camp
  a/k/a "Tim Templeton"
                                   Date              Payment Type             Amount
  OvertAct47                       4/6/2023       CashApp                     $50
  Overt Act 48                     4/9/2023       CashApp                     $35
  Overt Act 49                     4/13/2023      CashApp                     $100
  Overt Act 50                     4/19/2023      CashApp                     $220




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   Paid by:
   CARTER G. FAWCETT           Cashtag/Display Name: -         Carter F
   a/k/a "Ca tain"
                               Date             Payment Type        Amount
   Overt Act 51                4/2/2023         CashApp             $60
   Overt Act 52                4/3/2023         CashApp             $60
   Overt Act 53                4/14/2023        CashApp             $80
   Overt Act 54                4/22/2023        CashApp             $60




                               Date             Payment Type        Amount
   Overt Act 55                3/25/2023        GoFundMe            $15
   Overt Act 56                3/25/2023        GoFundMe            $35
   Overt Act 57                3/31/2023        GoFundMe            $175
   Overt Act 58                4/22/2023        Mighty Cause        S70
   Overt Act 59                4/22/2023        Mighty Cause        $70


  Paid by:
  BRADY O. SHELLHAMMER         Cashtag/DisplayJiame: ~              darb Hammer
  a/k/a "Beglu"
  a/k/a "Bbbe Ju"
                               Date             Payment Type        Amount
  Overt Act 60                 4/20/2023        CashApp             $20


  Paid by:                     Cashtag/Display Name:               immyWong
  JIMMYWONG                    GoFundMe Name: Jimmy Wong
  a/k/a "Yasser Lo ez"
                              Date              Payment Type       Amount
  Overt Act 61                3/24/2023         GoFundMe           $20
  Overt Act 62                3/26/2023         GoFundMe           $28
  OvertAct63                  4/14/2023         CashApp            $35
  Overt Act 64                4/14/2023         CashApp            $3 5 (expired)


  Paid by:                    Cashtag/Display Name:                 Kimberly A
  KIMBERLY A. ANGLIN          Anglin
  a/k/a "Kim An Un"
                              Date              Payment Type       Amount
  Overt Act 65                4/1 8/2023        CashApp            $1 00
  Overt Act 66                4/19/2023         CashApp            $75



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   Paid by:
   MARK M. SAMPIERI                             Cashtag/Display Name:                         be Chef
   a/k/a "The Chef '
   :v'.l<La '~S.ainT." . ... . . _.. -~ ' ..... . . .    .. .              ...   ... --· -~" ...    ...        . .. .........
                                                Date          Payment Type                         Amount
   Overt Act 67                          3/13/2023             CashApp                             $70
   Overt Act 68                          3/23/2023             CashApp                             $70 ( declined)
   Overt Act 69                          3/25/2023             CashApp                             $45
   Overt A ct 70                         3/25/2023             CashApp                             $25


   Paid by:
   VICTORIA S. HASKCNS                   Cashtag/Display Name:                                 ictoria Haskins
   a/k/a "Cat Face"
   a/k/a "Soarkles Fancv Pants"
                                         Date                  Payment Type                        Amount
   Overt Act 71                          3/3/2023              CasbApp                             $25     '
   Overt Act 72                          3/7/2023              CashApp                             $25



   Paid by:                              Cashtag/Display Name:                             Calvin Green
   VANCE H. BEADLES
   a/k/a ''Mr. Green"
                                         Date                  Payment Type                        Amount
   Overt Act 73                          4/19/2023             CashApp                             $50


   Paid by:         I

   MARYL. LONGORIA                       Casbtag/Display Name:                           mary
   a/Wa ''R6"
   a/k/a "R6ex"
                )
                                        Date                   Payment Type                        Amoun1
   Overt Act 74                         3/27/2023              CashApp                             $20
   Overt Act 75                         4/4/2023               CashApp                             $20
   Overt Act 76                         4/10/2023              CashApp                             $50

  , Paid by:
    PATRICK C. NAYLOR
                                        Cashtag/Display Name:                                             .R .E PAT
    a/k/a "YANTF"
    a/k/a "YANTF 2X"
                                        Date          I
                                                               Payment Type                        Amount
  Overt A ct 77                         3/27/2023              CashApp                             $40
  Overt A ct 78                         4/18/2023              CashAoo                             $30
  Overt Act 79                          4/18/2023              CashAoo                             $30

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      All in violation of 18 U.S.C. §371.




                                        A TRUE BILL:




                                        GdsioRE.PERSON



                                             KELLY A. NORRIS
                                             ACTING UNITED STATES ATTORNEY


                                                                               YGENERAL



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